Case 1:01-cv-12257-PBS Document 7555-1 Filed 05/24/11 Page 1 of 4

Case 1:01-cv-12257-PBS Document 7546-1 Filed 05/17/11 Page 5 of 13

Exhibit A
Case 1:01-cv-12257-PBS Document 7555-1 Filed 05/24/11 Page 2 of 4

Case 1:01-cv-12257-PBS Document 7546-1 Filed 05/17/11 Page 6 of 13

Authorized by the U.S. District Court for the District of Massachusetts

Notice of Revision to Proposed Class Action Settlement Involving Certain
Chemotherapy Drugs Sold by BMS

1. What Is This Notice About?

There is a Proposed Settlement of a class action lawsuit involving Bristol-Myers Squibb (“BMS”)
drugs Blenoxane®, Cytoxan®, Etopophos®, Paraplatin®, Rubex®, Taxol® and Vepesid® (referred to
as the “BMS Drugs”). The name of the lawsuit is Jn re: Pharmaceutical Industry Average Wholesale
Price Litigation, Docket No. 01-CV-12257-PBS, MDL No. 1456.

You were mailed this Notice because you previously filed a Claim Form in response to an earlier
Notice that was sent to you. On the Claim Form, you indicated that you made a payment from January

1, 1991 through December 31, 2004 for a BMS Drug.

This revised Notice informs you of a change in the terms of the Proposed Settlement.

2. What Is The Relevant Change In The Terms
Of The Proposed Settlement?

Under the Proposed Settlement, BMS will pay $19 million to settle the lawsuit. This amount is meant
to satisfy the claims of both Third-Party Payors (““TPPs”} who meet the criteria for inclusion in one of
the two Settlement Classes as well as claims by consumers who made percentage co-payments and full
cash payments based on the published Average Wholesale Price (“‘AWP”). All costs associated with
notice and administration, attorneys’ fees and litigation costs, and compensation to the named class
representatives for time spent providing documents and testimony in connection with this case will be
paid from the $19 million settlement amount, except that BMS will pay 50% of the costs of notice up
to $1 million.

Under the initial proposal, 77% (or $14,630,000) of the gross settlement amount was designated to
satisfy the claims of TPPs. The remaining 23% (or $4,370,000) of the gross settlement amount was
designated for the purpose of paying consumer claims. Consumers and TPPs are sharing the costs of
notice and administration equally.

The Court considered the Proposed Settlement at a hearing held March 28, 2011. Among other things,
the Court requested that the Proposed Settlement be modified to provide more money to consumer
members of the Classes. Afterward, a mediation was held between Allocation Counsel for consumers
and TPPs, which produced an Agreement that provided Consumers with an additional $1,000,000.
Thus, the Agreement now provides that consumers will receive a gross settlement amount of
$5,370,000 (28%), and that TPPs will receive a gross settlement amount of $13,630,000 (72%).

aT eae ee

Case 1:01-cv-12257-PBS Document 7555-1 Filed 05/24/11 Page 3 of 4

Case 1:01-cv-12257-PBS Document 7546-1 Filed 05/17/11 Page 7 of 13

All other terms of the Proposed Settlement relevant to TPPs remain unchanged. Other changes relating
to the distribution methodology apply only to consumers.

The Court has approved the Proposed Settlement, as revised, on a preliminary basis. It has further
determined that the revision does not warrant a second “opt out” period in which class members who
declined to exclude themselves before should now be offered another chance to do so, Accordingly, if
the Proposed Settlement is finally approved as revised, you will be bound by its terms. The Court will
hold a Hearing to decide whether the revised Proposed Settlement should be finally approved (See
Question 4). :

3. May I Object To, Or Comment On, The Revision To
The Proposed Settlement?

Yes. If you have comments about, or disagree with, any aspect of the revision to the Proposed
Settlement, you may express your views to the Court. You must do this in writing. Your written
response must include:

= Your name, address, telephone number, a brief explanation of your reasons for objection,
and

= The case number (Civil Action Number: 01-CV-12257-PBS, MDL No. 1456).

The document must be signed to ensure the Court’s review. The response must be filed with the Court
at the following address on or before July 1, 2011: Clerk of Court, John Joseph Moakley U.S.
Courthouse, 1 Courthouse Way, Suite 2300, Boston, Massachusetts 02210 and served on Counsel for the
Parties so that the objection is received on or before July 1, 2011 at the following addresses:

Counsel for the Class Counsel for BMS
Steve W, Berman Lyndon M. Tretter
Hagens Berman Sobol Shapiro LLP Hogan Lovells US LLP
1918 Eighth Avenue, Suite 3300 875 Third Avenue
Seattle, WA 98101 New York, NY 10022

In addition, your document must clearly state that it relates to the “BMS Settlement.” If you file or
present an objection, you will be subject to the jurisdiction of the Court.

4, When And Where Wil! The Court Decide On Whether To Grant
Final Approval Of The Proposed Settlement?

The Court will hold a Hearing on July 7, 2011 at p.m. to consider whether it is fair, reasonable and
adequate. At the Hearing, the Court will also consider whether to approve the Proposed Settlement;
the request for attorneys’ fees and expenses; and any comments or objections. You are not required to
attend, but may do so at your own expense.

If you want your own lawyer instead of Class Counsel to speak at the Final Approval Hearing, you
must give the Court a paper that is called a “Notice of Appearance.” The Notice of Appearance must
include:

Case 1:01-cv-12257-PBS Document 7555-1 Filed 05/24/11 Page 4 of 4

Case 1:01-cv-12257-PBS Document 7546-1 Filed 05/17/11 Page 8 of 13

» Your name, address, telephone number, signature;

s The name, and number of the lawsuit (Civil Action Number: 01-CV-12257-PBS, MDL No.
1456);

* State that you wish to enter an appearance at the Final Approval Hearing; and
* Any documentation in support of such opposition.
Your Notice of Appearance must be filed with the Court on or before July 1, 2011 and served on

Counsel so that it is received on or before July 1, 2011. The Notice of Appearance must be filed with
the Court and served on Counsel at the addresses set forth above in response to Question 3.

5. Where Do I Obtain More Information?

You may obtain more information, including a copy of the original Notice that was previously mailed
to you, by visiting the BMS AWP Settlement web site at www.BMSAWPSettlement.com, by calling
1-877-690-7097, or by writing to:

BMS AWP TPP Settlement Administrator

P.O. Box 24648

West Palm Beach, FL 33416

DATED: May __, 2011 BY ORDER OF THE COURT

